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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Fernando Gastelum,                                 No. CV-17-03834-PHX-DJH
10                   Plaintiff,                         ORDER
11   v.
12   Champion Hotel Investment of Phoenix
     LLC,
13
                     Defendant.
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15             The Court having reviewed the parties’ Stipulation of Dismissal (Doc. 30), filed
16   on October 2, 2018,
17             IT IS ORDERED approving the Stipulation (Doc. 30) and dismissing this action
18   in its entirety, with prejudice, each party to bear its own attorneys’ fees and costs.
19             IT IS FURTHER ORDERED directing the Clerk of Court to terminate
20   Plaintiff’s pending Motion to Stay (Doc. 27).
21             IT IS FURTHER ORDERED directing the Clerk of Court to terminate this
22   action.
23             Dated this 2nd day of October, 2018.
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                                                      Honorable Diane J. Humetewa
27                                                    United States District Judge
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